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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

SEPTIMUS SCOTT,
M
Plaintiff,
l7-CV-63 59G
v.

CITY OF ROCHESTER, A l\/lunicipal Entity,
et al.,

Defendants.

 

Pursuant to the order of the Hon. F rank P. Geraci, Jr., Chief United States District
Judge, referring the above case to the undersigned for pretrial procedures and the entry of a
scheduling order as provided in Fed. R. Civ. P. Rule l6(b) and Local Rule l6, the parties are
hereby directed to fully comply With Federal Rule of Civil Procedure 26.

All parties are reminded that effective December l, 2015, Rule 26 of the Federal
Rules of Civil Procedure Was amended. These amendments address the scope and conduct of
discovery. All parties are expected to be familiar With and fully comply With the
requirements of amended Rule 26 of the Federal Rules of Civil Procedure.

Based on the foregoing, it is hereby

ORDERED that each party, including any party appearing Without counsel, shall
appear before the undersigned on April 19, 2018, at 10:40 a.m., 2310 United States Courthouse,
100 State Street, Rochester, NeW York for the purpose of entry of a case management order as

required by Rule l6(b) of the Federal Rules of Civil Procedure; and it is further

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ORDERED that pursuant to Rule 26(f) of the Federal Rules of Civil Procedure,

the parties shall confer at least 2l days prior to the Rule l6(b) hearing as scheduled above for the

purpose of preparing the required “Proposed Discovery Plan” (PDP). The PDP shall be in

Writing and shall specifically address relevant issues concerning the management of all pretrial

discovery practice in this case, including:

l.

In his referral order, Chief Judge Geraci has specifically
encouraged the parties to consider the provisions of 28 U.S.C.
§636(c) governing consent to complete disposition of the case
(including trial, if necessary) by this Court. The parties shall
state in the PDP Whether or not unanimous consent to
Magistrate Judge jurisdiction has been agreed upon.

Deadline for compliance With the mandatory disclosure
requirements found in Rule 26(a)(l) of the F ederal Rules of Civil
Procedure. Any objections to the required disclosures must also be
stated in the PDP.

Deadline for the filing of motions to amend the pleadings or add
parties

Deadline for completion of fact discovery.

lf expert discovery is contemplated by any party, a deadline for the
completion of all expert discovery, including full compliance With
Rule 26(a)(2) regarding the identification and filing reports of
testifying experts

Deadline for the filing of motions to compel discovery.

Any Orders that should be entered under Rule 26(c)
(protective/confi dentiality orders).

Any changes in the limitations on discovery as provided in Rule 30
(oral depositions), and Rule 33 (interrogatories practice) and Rule
34 (document requests).

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9. Any issues that the parties reasonably foresee concerning discovery
of electronically stored information, including the form or forms in
Which it should be produced

10. Any agreements between the parties concerning assertions of
claims of attorney-client privilege or Work-product protection after
information is produced, including agreements reached under
Federal Rule of Evidence 502.

ll. Deadline for the filing of dispositive motions.

12. The advisability and timing of a judicially supervised settlement
conference or other alternative dispute resolution, including
mediation

l3. The parties shall advise Whether a jury trial is required and the
estimated length of the trial.
After meeting, the parties shall prepare a Written PDP as required by Rule 26(f)
and electronically file the PDP report With the Clerk’s Office no later than 4 business days prior

to the Rule 16(b) conference as herein scheduled At the conclusion of the Rule l6(b) conference

 

and after conferring With the parties, this Court Will issue a Case Management Order governing
all further pretrial proceedings in this action. Out-of-tovvn attorneys may submit a letter
requesting to participate in the Rule 16 conference by telephone.

IT IS S() ORDERED.

nw w eath
MARIAN W. PAYSON
United States Magistrate ludge

 

Dated: Rochester, New York
March Q<Z, 2018

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UN|TED STATES DlSTRlCT COURT

Western District of New York

SEPTll\/lUS SCOTT,
NOT|CE, CONSENT7 AND ORDER OF REFERENCE -
P|aintiff EXERC|SE OF JUR|SD|CT|ON BY A UN|TED STATES
lVlAG|STRATE JUDGE
v.
17-CV-63596
C|TY OF ROCHESTER, A l\/lunicipa| Entity,
et al.1

Defendants

NOT|CE OF AVAlLAB|LlTY OF A UN|TED STATES MAG!STRATE JUDGE
TO EXERC|SE JUR|SD|CT|ON

ln accordance With the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United
States magistrate judge of this district court is available to conduct any or all proceedings in this case including ajury
or nonjury tria|, and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is,
however, permitted only if all parties voluntarily consent

You may, Without adverse substantive consequences1 Withho|d your consent, but this Will prevent the court’s
jurisdiction from being exercised by a magistrate judge lf any party Withholds consent, the identity of the parties
consenting or Withholding consent Will not be communicated to any magistrate judge or to the districtjudge to Whom
the case has been assigned

An appeal from ajudgment entered by a magistrate judge shall be taken directly to the United States court of
appeals for this judicial circuit in the same manner as an appeal from any other judgment of a district court.

CONSENT TO THE EXERC|SE OF JUR|SD|CT|ON BY A UN|TED STATES MAGISTRATE JUDGE
ln accordance With the provisions of 28 U.S.C. §636(0) and Fed.R.Civ.P. 73, the parties in this case consent
to have a United States magistratejudge conduct any and all proceedings in the case, including the tria|, order the
entry of a final judgment, and conduct all post-judgment proceedings

Party Represented Signatures Date

 

 

 

 

ORDER OF REFERENCE

l'l' |S ORDERED that this case be referred to Marian W. Payson, United States l\/lagistrate Judge, to conduct
all proceedings and order the entry of Judgment in accordance With 28 U.S.C. §636(c) and Fed.R.Civ.P. 73.

 

Date United States District Judge

NOTE: RETURN TH|S FOR|\/| TO THE CLERK OF THE COURT ONLY |F ALL PART|ES HAVE CONSENTED w
THIS FOR|V| TO THE EXERC|SE OF JUR|SDiCT|ON BY A UN|TED STATES |\/IAG|STR/-\TE JUDGE_

